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                               EXHIBIT C
                            (Proposed Order)
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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                        )       Case Number: 98-41742
GRIFFIN TRADING COMPANY       )
                              )           Chapter:
                              )
                              )                    Honorable David D. Cleary
                              )
          Debtor(s)           )
 ORDER GRANTING COMBINED APPLICATION (I) TO RETAIN SCHULTZ & CHEZ L.L.P. AS
    TRUSTEE’S ACCOUNTANT AND (II) FOR ALLOWANCE OF COMPENSATION TO
                      ACCOUNTANT ON FINAL BASIS
        This matter came before the Court on the Trustee's Combined Application (I) to Retain Schultz
& Chez, L.L.P. as Trustee's Accountant and (II) for Allowance of Compensation to Accountant on a
Final Basis (the "Application") filed by Leroy G. Inskeep, Chapter 7 Trustee for the Bankruptcy Estate
of Griffin Trading Company, due written notice having been given, and the Court being otherwise fully
advised in the premises, it is hereby:

      1.   ORDERED, that the Application is GRANTED as set forth in this Order; and it is further

      2. ORDERED, that the employment of Shultz & Chez L.L.P. shall continue with respect to the
preparation of the Debtor's federal and state corporate tax returns for tax year 2021; and it is further

      3. ORDERED, that the Trustee is authorized to pay to Schultz & Chez L.L.P. an advance
payment retainer in the amount of $2,000.00 to be applied to fees to be incurred by Schultz & Chez in
the preparation and filing of the final federal and state tax returns for tax year 2021, without further
order of this Court.

                                                           Enter:


                                                                    Honorable David D. Cleary
Dated:                                                              United States Bankruptcy Judge

Prepared by:
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